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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
VIRGINIA GIUFFRE,                                                              1:15-cv-7433 (LAP)

                                         Plaintiff,
                                                                               STIPULATION AND
                         - against -                                           ORDER OF
                                                                               SUBSTITUTION OF
GHISLAINE MAXWELL,                                                             COUNSEL FOR
                                                                               INTERVENOR ALAN M.
                                           Defendant.                          DERSHOWITZ
--------------------------------------------------------------------X

        IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned counsel,

pursuant to Local Rule 1.4, that Aidala Bertuna & Kamins, P.C. shall be substituted in the place

and stead of Emery Celli Brinckerhoff & Abady LLP as counsel of record for intervenor Alan M.

Dershowitz in the above-captioned matter.

        Intervenor enters into this substitution of counsel knowingly and voluntarily.

EMERY CELLI BRINCKERHOFF                                      AIDALA, BERTUNA & KAMINS, P.C.
& ABADY LLP

By:_/s/Andrew G. Celli, Jr._____                              By:_________________________
   Andrew G. Celli, Jr., Esq.                                    Imran H. Ansari, Esq.
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    Outgoing Counsel for Intervenor                           Incoming Counsel for Intervenor


Dated: June 23, 2020                                          Dated: June 23, 2020


SO ORDERED;


____________________________________
                           U.S.D.J.

Dated: ______________________________
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